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                          Exhibit B
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                                                                      U.S. Department of Justice
                                                                      Criminal Division
                                                                      Fraud Section
                                                                     1100 Commerce Street, Third Floor, Dallas, Texas 75242
                                                                     Main: 214-659-8600 | Fax: 214-659-8802


                                                                    January 27, 2025

VIA ELECTRONIC MAIL

Scottie Allen
Scottie D. Allen & Associates
4144 N Central Expwy Suite 650
Dallas, TX 75204
scottiedallen@scottiedallenlaw.com

Re:     United States v.Gray., 9:22-CR-80022
        Expert Disclosure – Shauna Schwarm (Hull)

Dear Counsel:

        The United States of America provides this supplemental notice and a written summary of
the expected testimony of Shauna Schwarm (Hull) (referred to throughout this document as Ms.
Schwarm) described below, whom the government currently intends to call at trial during its case-
in-chief (“Notice”), 1 in compliance with its obligations under Federal Rule of Criminal Procedure
16(a)(1)(G), as well as Federal Rules of Evidence (“FRE”) 702, 703, and 705. The government may
choose not to attempt to elicit the testimony outlined in this Notice but provides this information in
order to comply with the applicable rules.

         Ms. Schwarm may also testify as a fact witness in this case regarding matters of which she
has personal knowledge under FRE 602 and about which she may opine under FRE 701. This Notice
does not serve either to summarize such testimony or to limit the subject areas about which she may
testify.

        The government acknowledges its continuing duty to disclose evidence or material obtained
before or during trial pursuant to Federal Rule of Criminal Procedure 16(c). Should unexpected
events arise between now and trial which might require additional or different expert testimony, the
government will promptly seek the Court’s permission to offer the testimony of additional or
alternative expert witnesses.

1
  On November 1, 2024, we previously provided notice of Ms. Schwarm’s anticipated testimony. We are issuing this
letter as a supplement to that original notice, to comply with Federal Rule of Criminal Procedure 16(a)(1)(G), and to
include additional detail related to Ms. Schwarm’s anticipated testimony. As before, the government is providing this
disclosure out of an abundance of caution even though the Government believes that Ms. Schwarm’s anticipated testimony
described herein is factual such that it should be received as lay opinion pursuant to FRE 701.

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        The United States intends to call Shauna Schwarm, or another witness, to explain how
Medicare works, Medicare’s coverage for laboratory testing (including the cardio genetic testing
conducted in this case), Medicare’s coverage for telemedicine, the fact that Medicare does not cover
claims based on kickbacks or bribes, the representations that providers, including owners of
laboratories, must make to enroll with Medicare, and the claims submitted by the Defendant’s
laboratories to Medicare. Ms. Schwarm is not being specifically compensated for her testimony in
this case; instead, trial testimony is part of her ordinary duties as set forth below.

        The government has previously provided Ms. Schwarm’s CV and transcripts of Ms.
Schwarm’s prior testimony, to the extent they are in the government’s possession, as well as
information on her background and qualifications. In sum, Ms. Schwarm has worked for several
Medicare contractors primarily in fraud investigations. She is currently employed by Qlarant Quality
Solutions (“Qlarant”) and supports the Southwest Unified Program Integrity Contractor (“UPIC”). In
her current role, Ms. Schwarm is responsible for support and education for federal law enforcement
agencies, training and development of staff, outreach activities relating to fraud and abuse, and
coordinating and sharing information with the Centers for Medicare and Medicaid Services (“CMS”),
other contractors, and law enforcement agencies. Ms. Schwarm has a decade of experience working
with Medicare contractors. In addition, she has experience analyzing claims for payment to Medicare.
Over her years in this industry, Ms. Schwarm has become familiar with Medicare’s coverage for
laboratory services and has overseen fraud investigations for Medicare contractors. She is also
familiar with analyzing voluminous claims data. She has testified about Medicare and Medicare
coverage in approximately nine federal criminal trials throughout Louisiana and Texas.

       In the last four years, Ms. Schwarm has testified in the following cases:

            •   November 2020, Beaumont, TX, No. 1:20-CR-33
            •   March 2022, Houston, TX, No. 4:17-cr-00197
            •   April 2022, Sherman, TX, No. 4:20-cr-358 ALM
            •   April 2022, Houston, TX, No. 4:19-cr-00633
            •   October 2022, Houston, TX, No. 4:20-cr-00619
            •   March 2023, Lafayette, LA, No. 6:21-cr-00312
            •   October 2023, New Orleans, LA, No. 2:21-cr-00098
            •   February 2024, Dallas, TX, No. 3:22-cr-00259-S
            •   February 2024, McAllen, TX, No. 7:22-cr-01311

        Ms. Schwarm’s opinions will be based on her knowledge, training, skill, and experience
working with the Medicare program, including its rules and regulations, as well as her review and
analysis of documents and claims data, which have been provided as discovery to the Defendant in
this case.

       The government anticipates that Ms. Schwarm’s testimony may cover the following topics
and include the following opinions, in addition to the topics and opinions disclosed in the November
1, 2024 letter:

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     1. Background on Medicare

 • Ms. Schwarm will testify that Medicare is a federally funded program that provides below-
     cost health care benefits to people aged 65 years or older, the blind, and the disabled. The
     Centers for Medicare & Medicaid Services (“CMS”), a unit of the Department of Health and
     Human Services (“HHS”) is responsible for the administration of Medicare. Ms. Schwarm
     will explain that individuals who receive benefits under Medicare are referred to as Medicare
     “beneficiaries.” Beneficiaries are eligible to receive a variety of services, including hospital
     and physician services (“Part B”). Part B covers outpatient physician services, such as office
     visits, minor surgical procedures, and laboratory services, when certain criteria are met.

 • Ms. Schwarm will explain what a claim for payment from Medicare is, and what must be
     included to submit a claim for payment from Medicare, including the following: (1) the claim
     must pertain to a patient who was properly enrolled as a Medicare beneficiary; (2) the
     healthcare provider who furnished the services to the patient must be licensed in the state in
     which they practice and be properly enrolled with Medicare; (3) the services claimed must
     have been actually provided as reported on the claim; (4) the services claimed must be
     medically necessary and eligible for reimbursement under any applicable rules, regulations,
     or policies; and (5) the claim must be properly reported and properly documented with a
     supporting medical record.

 • Ms. Schwarm will testify to the claims adjudication process, including the time in which
     Medicare processes claims and the extent to which claims are, or are not, reviewed by
     Medicare. She will testify that it is a physical impossibility for every claim to be reviewed
     before it is paid by Medicare. Instead, Medicare relies on the provider’s representation that
     claims are true and accurate.

     2. Medicare Enrollment and Form 855

 •   Ms. Schwarm will explain that “providers” include clinical laboratories, physicians, and other
     health care providers who provide services to beneficiaries. In order to bill Medicare, a
     provider must first obtain an NPI, then submit an enrollment application to Medicare. The
     enrollment application contains certification statements that the provider must agree to before
     enrolling with Medicare. Specifically, the certification statement sets forth, in part, that the
     provider agrees to abide by the Medicare laws, regulations, and program instructions,
     including the Federal Anti-Kickback Statute, and will not knowingly present or cause to be
     presented a false or fraudulent claim for payment by Medicare.
 •   Ms. Schwarm will explain the representations that providers make regarding their ownership
     and management structure.

 •   Ms. Schwarm will explain that Medicare providers receive a “provider number,” which they
     use to file claims with, or “bill” Medicare to obtain reimbursement for services rendered to
     beneficiaries. When submitting claims to Medicare for reimbursement, providers certify that:

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     (1) the contents of the forms are true, correct, and complete; (2) the forms are prepared in
     compliance with the laws and regulations governing Medicare; and (3) the services
     purportedly provided, as set forth in the claims, are medically necessary.

 •   Ms. Schwarm will discuss the Form 855s as well as other documentation submitted by the
     various clinical laboratories referenced in the Indictment, including representations contained
     within the forms as to providers’ ownership, management, location(s), and promises made in
     those forms to comply with applicable rules and regulations and to not submit false claims.

        3. Genetic Testing

 •   Ms. Schwarm will testify that this case implicates claims submitted to Medicare for laboratory
     services, namely, genetic testing, including cardiovascular genetic (“cardio”) tests.

 •   Ms. Schwarm will explain Medicare’s reimbursement policies with respect to such testing,
     and she will testify that Medicare reimburses for the test at rates varying from approximately
     a few hundred dollars to several thousand dollars for a panel of tests. Ms. Schwarm will
     explain that Medicare does not pay for every potential medical service, and instead, many
     services are expressly excluded from coverage.

 •   Ms. Schwarm will testify that as a condition of Medicare payment, a physician or other
     Medicare provider must certify that the services performed were medically necessary as
     required by Title 42, United States Code, Section 1395n(a)(2)(B).

 •   Ms. Schwarm will testify that Medicare generally does not pay for “screening” tests, unless
     specifically covered by statute, which the genetic tests billed in this case were not. Rather, lab
     testing must be “reasonable and necessary for the diagnosis or treatment of illness or injury
     or to improve the functioning of a malformed body member.” 42 U.S.C. § 1395y(a)(1)(A);
     see also 42 C.F.R. § 411.15(a)(1); 42 C.F.R. § 410.10(e).

 •   Ms. Schwarm will explain that laboratory tests must also be ordered by the physician who is
     treating the beneficiary, that is, the physician who furnishes a consultation or treats a
     beneficiary for a specific medical problem and who uses the results of the test in the
     management of the beneficiary’s specific medical problem. Ms. Schwarm will testify that
     Medicare does not cover genetic tests that are not ordered by the beneficiary’s treating
     physician because CMS has determined that tests not ordered by the physician treating the
     beneficiary are not reasonable and necessary. See 42 C.F.R. § 410.32(a).

 •   Certain screening tests are exempted from the general exclusion from coverage, such as
     routine mammography or colonoscopy exams (among other routine screening exams). Ms.
     Schwarm will contrast routine screening tests expressly covered under statute from genetic
     testing billed in this case, which is not generally eligible for reimbursement by Medicare on
     the basis that such testing is not reasonable and not necessary.


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 •   Ms. Schwarm will discuss and explain that Medicare publishes guidance regarding what
     services it does and does not cover in a variety of publications, including National Coverage
     Determinations (“NCDs”) and Local Coverage Determinations (“LCDs”). Ms. Schwarm will
     discuss the applicable NCDs and LCDs published in the relevant Medicare Administrative
     Contractor (“MAC”) geographic jurisdictions, during the charged conspiracy.

 •   Even if a genetic test satisfies the applicable statutory and regulatory requirements above, the
     test must also satisfy applicable LCD coverage limitations. Ms. Schwarm will discuss the
     LCDs issued by the MACs for the relevant Medicare jurisdictions and their respective
     limitations of coverage of specific genetic tests as well as billing trends associated with the
     publication and implementation of certain LCDs and NCDs.

 •   Ms. Schwarm will also explain Medicare’s rules related to providers’ record-keeping
     requirements and requirements related to documenting medical necessity in the patient record.
     Specifically, Ms. Schwarm will explain that Medicare requires ordering/referring physicians
     to document medical necessity and other coverage for genetic testing. Medicare regulations
     require health care providers enrolled with Medicare to maintain complete and accurate
     patient medical records reflecting the medical assessment and diagnoses of their patients, as
     well as records documenting actual treatment of the patients to whom services were provided
     and for whom claims for payment were submitted by the physician.

 •   Ms. Schwarm will explain that Medicare would not reimburse a provider for claims if
     Medicare knew that the claims were based on kickbacks and/or bribes.

        4. Billing in This Case

 •   Ms. Schwarm will explain the Medicare rules and regulations regarding claims and
     reimbursement for genetic testing.

 •   Ms. Schwarm may summarize claims data and billing patterns in this case.

        5. Why Kickbacks Are Illegal

 •   Ms. Schwarm will apply her knowledge of Medicare rules and regulations to explain that
     kickbacks are illegal because they incentivize providers to bill for medically unnecessary
     services.

        6. Information Relied Upon by Ms. Schwarm

 •   To date, in addition to the materials described in the November 1, 2024 letter, Ms. Schwarm
     has been provided the following records by the prosecution team to assist in her review, which
     have been provided to the defense in this case, in addition to publicly available statutes,
     regulations, and guidance, some of which is referenced herein: Government Exhibits 1-9 (the


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       Medicare provider enrollment documents, claims data, and Local Coverage Determinations
       and articles).



                                                           Warm regards,

                                                           /s/ Adam Tisdall
                                                           Adam Tisdall
                                                           Trial Attorney
                                                           U.S. Department of Justice
                                                           Criminal Division, Fraud Section



I, Shauna Schwarm (Hull), have reviewed this disclosure and approve of its contents.



___________________________
Shauna Schwarm (Hull)



___________________________
Date




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